            Case 1:17-cv-03418-VEC Document 79 Filed 03/09/18 Page 1 of 4



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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WORLDWIDE FUN LTD., and                                                 :
SMILING ALBINO LTD.,                                                    : DOC NO.: 1:17-CV-3418
                                                                        :
                                    Plaintiffs,                         : AFFIRMATION IN REPLY
                                                                        : AND IN FURTHER SUPPORT
                           -against-                                    : OF MOTION FOR
                                                                        : SUMMARY JUDGMENT
SANUK ENTERPRISES, INC., KENNETH FISH d/b/a :
ABSOLUTE TRAVEL, and GUY CHIRICO,                                       :
                                                                        :
                                    Defendants.                         :
                                                                        :
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       Jennifer Redmond, an attorney duly admitted to practice law before the United States

District Court, Southern District of New York, aware of the penalties of perjury, affirms as follows:

       1.       I am a member of the firm of Redmond Law PLLC, attorneys for Worldwide Fun

Ltd. and Smiling Albino Ltd (collectively “Smiling Albino” or “Plaintiffs”), in the above-entitled

action and I am familiar with all the facts and circumstances in this action.

       2.       I submit this affirmation in reply in further support of Smiling Albino’s motion for

partial summary judgment and in response to the affidavit of Kenneth Fish (“Fish”), the Founder,

President, and sole corporate officer of Sanuk Enterprises, Inc. (“Sanuk”), that did business under

the name Absolute Travel.

       3.       Similar to how he ran the business, Fish’s opposing papers are wrought with

inconsistent statements further demonstrating Fish’s ability to change the truth to suit his needs.

       4.       For example, Fish states in his affidavit that “[t]he allegation that I exclusively

controlled everything is an exaggeration.” Fish Aff. ¶22. Yet, he also states in that same affidavit,




                                                                                                      1
            Case 1:17-cv-03418-VEC Document 79 Filed 03/09/18 Page 2 of 4



“It is true that I was the Sole Shareholder and President of the Company and I exercised control

over the Company.” Id. ¶12.

       5.       Moreover, he admits during his deposition when asked if other Sanuk employees

oversaw financial aspects of the company, stating, “[n]o, actually it was always me.” (Redmond

Moving Aff, Exh. C, Fish Dep., p. 91:16-17).

       6.       Further, Fish’s opposing Memo of Law unequivocally states that Fish was in

control and dominated the corporation: “There is no dispute that Fish, the Sole Shareholder and

and President of Sanuk, was in control and dominated the corporation.” (Defendant Memo of Law,

p.1)

       7.       Further evidence of Fish changing the facts to suit his needs, Fish states that in 2015

his company’s revenue exceeded $13.0 million and that it was a “functioning company with

adequate capital resources and not a ‘shell’ corporation.” Despite that, he also states, the

“[c]ompany reported a loss for tax purposes …,” Fish Aff. ¶13, making it clear that he reported a

loss on his tax return despite that he alleges the company was making money.

       8.       This is consistent throughout his opposing papers where he conjures up a defense

that the company went out of business because the employees left. This is nonsense. The

employees left because he stopped paying them. (Overton Aff. ¶¶ 4, 5).

       9.       Regarding discovery, Fish claims he produced Chase bank statements for

September and October 2016; however, what he produced was his personal Chase bank statements

and not the corporate Chase statements, which Plaintiff’s deficiency letter of November 30, 2017,

demanded. (Fish Aff. ¶29, Exh. H).




                                                                                                     2
            Case 1:17-cv-03418-VEC Document 79 Filed 03/09/18 Page 3 of 4



        10.     Per plaintiff’s November letter, “Significantly, in advance of Mr. Fish’s deposition,

Plaintiffs require all account statements for all checking, savings, and credit cards used to conduct

Sanuk’s business spanning from 2008 through February 2017.”

        11.     Instead, in an apparent attempt to hide the actual corporate statements, Fish

produces September 2016 and October 2016 personal bank account statements (account ending in

09166), which have no bearing on his failure to produce Sanuk’s September 2016 and October

2016 corporate bank account statements (account ending in 2196). Exh. N.

        12.     To date, Fish has not produced the corporate Chase statements for those two

months, nor has he produced an affidavit attesting to that fact as demanded.

        13.     It is respectfully submitted that Fish’s failure to produce documents duly demanded

warrants an adverse inference regarding Fish’s use of Sanuk as his alter ego.

        14.     Finally, notwithstanding that Overton and Lehman’s statements would likely fall

within an exception to the hearsay rule, statements against interest, none of the alleged hearsay

statements contained in the Overton or Lehman are dispositive regarding Fish’s complete control

and domination of Sanuk to defraud and/or wrong Smiling Albino.

        15.     There can be no dispute that Fish got paid by clients planning trips with Smiling

Albino, that Fish took money from the company for his personal gain and never paid Smiling

Albino for the trips they paid in advance for, leaving them due and owing $368,829.91, plus

interest.




                                                                                                   3
         Case 1:17-cv-03418-VEC Document 79 Filed 03/09/18 Page 4 of 4



WHEREFORE, Plaintiffs respectfully requests that this Court grant Smiling Albino’s Motion for

Partial Summary and an order be granted piercing the corporate veil holding Ken Fish personally

responsible for the debts of Sanuk.


Dated: New York, New York
       March 9, 2018
                                                          ______________________________
                                                          Jennifer Redmond (JR 0387)
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